                Case 22-10870-mdc                     Doc 32         Filed 07/13/22 Entered 07/13/22 15:34:39        Desc Main
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                                              IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                 IN RE: Danielle L. White a/k/a Danielle                                     CHAPTER 13
                 Robinson
                                              Debtor(s)                                      BKY. NO. 22-10870 MDC


                                        ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

                    To the Clerk:

                            Kindly enter my appearance on behalf of US Bank Trust National Association, Not In
                    Its Individual Capacity But Solely As Owner Trustee For VRMTG Asset Trust and index
                    same on the master mailing list.


                                                                                        Respectfully submitted,


                                                                                /s/${s:1:y:_________________________}
                                                                                 Rebecca Solarz
                                                                                 13 Jul 2022, 09:44:45, EDT



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